         Case 1:18-cv-03688-ER Document 13-1 Filed 05/18/18 Page 1 of 3




Begin forwarded message:

  From: Brittany C <brittanyc@spiderbands.com>
  Date: February 4, 2018 at 12:40:16 PM EST
  To: Amanda Sauer <amanda@spiderbands.com>
  Cc: Franci Cohen <franci@spiderbands.com>, Brittany Clybourn <brittanyclybourn@gmail.com>, John Fazzio
  <john@spiderbands.com>
  Subject: Re: Meeting Complaint 2/2/2018

  Hi Amanda,

  There’s no further need to communicate with you on this subject, due to the fact that you are not the CEO and do not make all
  final decisions. Any information I need to give regarding me and my current situation does not need a third party, I greatly
  appreciate your quick response. No further communication is needed between you and I on this topic.

  I have all documents needed to protect myself in reference to me, as a whole, not solely regarding this one incident. There is no
  manual stipulating “class structure”, I have not one single pay stub in my possession, and my first few bank statements show
  what I should be paid based upon my contract. Since I have not received my proper pay or pay stubs, again I have bank
  statements to prove this fact. Again, my pay rate has been verbally stated to my Co Worker, as well as my fellow co workers pay
  rate has been verbally stated to me by my CEO/ Founder, Franci Cohen. This is against the law and makes me feel very
  uncomfortable. There is no system of “check-in” to hold instructors accountable for hours, days, times. I have shown up for my
  classes hours in advance, I am contacted last minute about meetings and my set days off have been infringed upon, without
  prior discussion to confirm. This has caused me to have to call out from other work and job opportunities needed to supplement
  pay, that my primary job (Spiderbands) has not paid me as expected per my contract.

  Any and all other communications regarding this situation should be carried out between Franci Cohen and I. The CFO, John
  Fazzio, and I have never met and I do not feel comfortable speaking with him about my personal issues regarding this matter.

  Thank you,
  Brittany Clybourn

  On Feb 4, 2018, at 11:32 AM, Amanda Sauer <amanda@spiderbands.com> wrote:

    Hi Brittany,

    Your claims in your email are completely unfounded, and simply untrue in their entirety. We have
    ample witnesses to attest to all. Our CEO, Franci Cohen has actually gone out of her way
    repeatedly to extend you many courtesies, and has overlooked acts that have harmed
    Spiderbands. We have continuously given you the benefit of the doubt, and tried to look the other
    way, at our own expense, but cannot continue to do so, as we have a fiduciary duty to our
    company to maintain its integrity and function.

    With regard to our meeting this past Friday, no, it was not a scheduled meeting. It was simply a
    courtesy, to sit and explain the warning letter that was issued to you, in the hopes of rectifying the
    situation, so we can move forward together in a positive and productive light. It is evident based
    on your previous email, that you are extremely upset. While there is nothing that has been said
    or done by anyone at Spiderbands to warrant such feelings, I’m always happy to help you
    resolve any impending issues you may have. That being said, I’d like to recommend that you
    speak with John, our CFO and business consultant, who may be able to help. Please let me
    know your availability for a call on Monday 2/5, and I’ll gladly set up a call for you.

    Thank you,
    Amanda

    On Fri, Feb 2, 2018 at 5:53 PM, Brittany C <brittanyc@spiderbands.com> wrote:
     Hi Amanda,
    Case 1:18-cv-03688-ER Document 13-1 Filed 05/18/18 Page 2 of 3


  This email regarding the unscheduled meeting that was held this morning, said to be regarding the Tuesday, 1/30/2018,
  6:30pm Jumpstrike class.

  All that was mentioned in the unscheduled meeting regarding the class in topic. Taking, the two Jumpstrike classes of
  Franci (unknown date and time), and structuring future classes per discussed fashion.

  In leu of all other things mentioned and discussed in the unscheduled meeting, I upmost feel attacked by the CEO/Founder
  of Spiderbands, Franci Cohen. I was told I discussed my pay grade, when I never once did such with co workers and I was
  told I received a certain level of compensation (untruth based upon my contract), and my pay rate was disclosed to a fellow
  co worker, which now makes me feel uncomfortable in my place of work. My CEO/Founder unprofessionally walked out of
  our unscheduled meeting and stated that the matter at hand was no longer being dealt with (my contract).

  There have been multiple occasions where I have been mislead and taken advantage of under the employment of
  Spiderbands. (3) Late payroll payments, which has caused my livelihood to be negatively effected, completing tasks outside
  of my job description (Turning over and Setting up for Franci’s class, with the cleaning crew) which makes me feel as though
  I’m working like a slave. Multiple occasions of my contract being breached, emotional stress at the workplace, and loss of
  modeling jobs through my agency Wilhelmina models due to the restrictions of CEO/Founder of Spiderbands, Franci
  Cohen. It was also made clear to me that I was being delivered a “warning” for not conforming to "class structure", when it
  was brought to my attention that a co worker deviates far away from “class structure” and no “warning” has been given on
  behalf of this fact. This also makes me feel harassed.

  Every meeting scheduled/unscheduled that has been had with CEO/Founder of Spiderbands, Franci Cohen present, my
  pay grade has been disclosed, with the mentioning of Co Workers pay rate. This has made me feel uncomfortable, and
  ultimately harassed at the workplace. I had a break down today due to being attacked by CEO/Founder, Franci Cohen
  during our meeting today. Outing my pay rate to a co worker, verbally falsifying my pay rate (including incentives), and
  attempting to demean my character in stating that I have given knowledge of my pay scale to my co workers, which I have
  never done.

  In conclusion, I am stating my emotional distress, uncomfortability at the workplace, unprofessionalism towards me from my
  CEO/Founder Franci Cohen, harassment, and attempt to demean my character. I have witnesses to attest to all of the
  above and will speak on my behalf if needed.



  Thank you,
  Brittany Clybourn



--
Amanda Sauer
Director of Operations
-------------------------


12 EAST 14TH STREET
NEW YORK, NY 10003

TEL 212.287.9029
www.spiderbands.com
Case 1:18-cv-03688-ER Document 13-1 Filed 05/18/18 Page 3 of 3
